       Case 4:22-cv-00302-RH-MAF Document 48 Filed 09/12/22 Page 1 of 2
                                                                              Page 1 of 2


           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION



ANDREW H. WARREN,

              Plaintiff,

v.                                            CASE NO. 4:22cv302-RH-MAF

RON DESANTIS,

              Defendant.

________________________________________/


                         ORDER DENYING LEAVE TO
                     FILE THE “PATRIOT” AMICUS BRIEF


       In this action a State Attorney challenges his removal by the Governor. The

State Attorney has moved for a preliminary injunction. Briefing on the motion is

nearly complete, and oral argument on the motion is set for September 19.

       Leave has been granted for the filing of several amicus briefs. A new group

of proposed amici, who call themselves “patriot amici,” has tendered yet another

proposed amicus brief. The brief comes too late. And it consists largely of

inadmissible hearsay accounts of irrelevant events. This is not an open forum for

nonparties to tender inadmissible evidence.

       IT IS ORDERED:

Case No. 4:22cv302-RH-MAF
       Case 4:22-cv-00302-RH-MAF Document 48 Filed 09/12/22 Page 2 of 2
                                                                            Page 2 of 2


       The Patriot Amici’s motion for leave to file an amicus brief, ECF No. 47, is

denied. The proposed brief, ECF No. 47-1, is struck.

       SO ORDERED on September 12, 2022.

                                       s/Robert L. Hinkle
                                       United States District Judge




Case No. 4:22cv302-RH-MAF
